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 6                        UNITED STATES DISTRICT COURT
 7                SOUTHERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,     Case No. 21-CR-3010-JLS

 9               Plaintiff,
10         v.                                ORDER GRANTING JOINT MOTION
11   VICTOR MANUEL ROBLES,                   TO WITHDRAW GUILTY PLEA
12               Defendant.
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14
15        Pursuant to the agreement of the parties—and the reasons set forth in the parties’
16 joint motion—the Court orders that the previous guilty plea and accompanying plea
17 agreement entered on December 21, 2021, be withdrawn so that the parties may enter into
18 a Veterans Diversion Program plea agreement before Magistrate Judge Andrew G.
19 Schopler.
20        IT IS SO ORDERED.
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22 Dated: May 23, 2022
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